






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00434-CV






Janet Carroll, Appellant


v.


Maro Ohanian, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-11-001844, HONORABLE RHONDA HURLEY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Janet Carroll appeals the trial court's order granting Maro Ohanian's motion to
dismiss Carroll's medical-negligence suit against her pursuant to section 101.106(f) of the Texas
Tort Claims Act.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.106(f) (West 2011).  We will affirm.


DISCUSSION

		Carroll filed the underlying suit seeking damages for injuries she sustained during a
hospital stay. (1)  In her first amended petition, Carroll asserted medical-negligence claims against
six&nbsp;physicians, including Ohanian.  Ohanian moved to dismiss the suit against her pursuant to Texas
Civil Practice and Remedies Code section 101.106(f), which provides:


	If a suit is filed against an employee of a governmental unit based on conduct within
the general scope of that employee's employment and if it could have been brought 
under this chapter against the governmental unit, the suit is considered to be against
the employee in the employee's official capacity only.  On the employee's motion,
the suit against the employee shall be dismissed unless the plaintiff files amended
pleadings dismissing the employee and naming the governmental unit as defendant
on or before the 30th day after the date the motion is filed.


Id. (emphasis added).  The trial court granted the motion to dismiss and severed the claims
against&nbsp;Ohanian.

		On appeal Carroll does not dispute that Ohanian, an employee of the University of
Texas Medical Branch at Galveston who was practicing medicine at Brackenridge Hospital, was an
employee of a governmental unit.  Nor does she dispute that the conduct complained of was "within
the general scope of [Ohanian's] employment."  Rather, Carroll contends that the trial court erred
in granting the motion because Ohanian failed to establish that Carroll's suit "could have been
brought under" the Texas Tort Claims Act against Ohanian's employer--a requirement for obtaining
dismissal pursuant to section 101.106(f).  See id.  Carroll argues that her medical-negligence claim
does not fall within the scope of the Tort Claims Act's limited waiver of immunity because her
injury was not "caused by a condition or use of tangible personal . . . property."  See id. § 101.021(2)
(West 2011).  Accordingly, she contends that her suit is not one that "could have been brought under
this chapter against the governmental unit." (2)  Thus, the dispositive issue in this appeal is whether,
for purposes of section 101.106(f), a suit for which the Texas Tort Claims Act does not waive
immunity is one that "could have been brought" under the Act against the governmental unit. (3)  The
Texas Supreme Court has answered this specific question in the affirmative.  In Franka v. Velasquez,
332 S.W.3d 367, 385 (Tex. 2011), the supreme court held that "for section 101.106(f), suit 'could
have been brought' under the Act against the government regardless of whether the Act waives
immunity from suit."  While the supreme court acknowledged that its construction of section
101.106(f) "foreclose[s] suit against a government employee in his individual capacity if he was
acting within the scope of employment," it concluded that such construction was compelled by the
statute's text and the court's own precedent.  Id. at 381-82.  The supreme court's decision in Franka
is dispositive of this appeal and requires that we affirm the trial court's order granting Ohanian's
motion to dismiss.  We therefore overrule Carroll's appellate issue.


CONCLUSION

		Having overruled Carroll's issue, we affirm the trial court's order of dismissal.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Affirmed

Filed:   June 27, 2012
1.   The events giving rise to Carroll's claims have been set forth in two previous opinions of
this Court and need not be repeated.  See Carroll v. Donau, No. 03-09-00293-CV,
2010&nbsp;WL&nbsp;2977462 (Tex. App.--Austin July 29, 2010, pet. denied) (mem. op.); Hayes v. Carroll,
314 S.W.3d 494 (Tex. App.--Austin 2010, no pet.).
2.   The Texas Tort Claims Act generally waives governmental immunity to the extent that
liability arises from the "use of a motor-driven vehicle or motor-driven equipment" or from "a
condition or use of tangible personal or real property."  Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.021
(West 2011).
3.   We assume without deciding that the Tort Claims Act would not waive immunity for a suit
by Carroll against Ohanian's governmental employer.


